  Case: 1:17-md-02804-DAP Doc #: 2399 Filed: 08/15/19 1 of 5. PageID #: 397621




                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION                         )    MDL 2804
 OPIATE LITIGATION                                    )
                                                      )    Case No. 1:17-md-2804
 THIS DOCUMENT RELATES TO:                            )
                                                      )    Judge Dan Aaron Polster
 Track One Cases                                      )
                                                      )    OPINION AND ORDER



        Before the Court is Track One Plaintiffs’ Motion to Sever Defendants and to Extend the

Deadline to Respond to Noramco, Inc.’s Motion for Judgment on the Pleadings or, in the

Alternative, Summary Judgment (“Severance Motion”). Doc. #: 2099. Plaintiffs ask the Court to

sever several Defendants1 and to extend the deadline for responding to Noramco’s Motion for

Judgment on the Pleadings, etc. (“MSJ”) Doc. #: 1902. The Court issued an order directing any

defendant opposing this motion to file a response by August 7, 2019 and directing Plaintiffs to file

a reply by August 9, 2019. Various Track One Defendants filed response briefs objecting to the

proposed severance. See Doc. #: 2141 (Noramco); Doc. #: 2142 (the Proposed Severed

Defendants other than Noramco); Doc. #: 2143 (Distributors); Doc. #: 2144 (Manufacturers); and

Doc. #: 2145 (Walgreens). Track One Plaintiffs filed a reply. Doc. #: 2158. Track One Plaintiffs’

also filed a separate motion to sever two CVS entities.2 (“CVS Motion”) Doc. #: 2148. Walgreens




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  Anda, Inc.; Discount Drug Mart, Inc.; HBC Service Company; H.D. Smith, LLC; Noramco, Inc.; Prescription
Supply, Inc.; Rite Aid Corporation; and Walmart Inc. f/k/a Wal-Mart Stores, Inc.
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  CVS Indiana, L.L.C. and CVS RX Services, Inc. Collectively herein, Anda, Inc.; Discount Drug Mart, Inc.; HBC
Service Company; H.D. Smith, LLC; Prescription Supply, Inc.; Rite Aid Corporation; Walmart Inc. f/k/a Wal-Mart
Stores, Inc.; CVS Indiana, L.L.C.; CVS RX Services, Inc.; and Noramco, Inc. are referred to as “Severed
Defendants.”
  Case: 1:17-md-02804-DAP Doc #: 2399 Filed: 08/15/19 2 of 5. PageID #: 397622




also filed a response brief objecting to Plaintiffs’ CVS Motion. Doc. #: 2160 (reiterating the same

arguments). Having carefully considered the parties’ briefs, the Court GRANTS-IN-PART

Plaintiffs’ Severance Motion and GRANTS Plaintiffs’ CVS Motion.

       Rule 21 of the Federal Rules of Civil Procedure permits the district court broad discretion

in determining whether or not claims or actions should be severed. See Parchman v. SLM Corp.,

896 F.3d 728, 733 (6th Cir. 2018) (citations omitted). See also Estate of Amergi ex rel. Amergi v.

Palestinian Authority, 611 F.3d 1350, 1367 (11th Cir. 2010) (upholding severance decision where

“the district court plainly had sound administrative reasons to try to simplify a case that was

becoming increasingly unmanageable”).

       Courts consider a number of factors when determining whether to sever claims,
       including:
       (1) whether the claims arise out of the same transaction or occurrence;
       (2) whether the claims present some common questions of law or fact;
       (3) whether settlement of the claims or judicial economy would be facilitated;
       (4) whether prejudice would be avoided if severance were granted;
       (5) whether different witnesses and documentary proof are required for separate
           claims.

Parchman., 896 F.3d at 733 (citing Productive MD, LLC v. Aetna Health, Inc., 969 F.Supp.2d 901,

940 (M.D. Tenn. 2013)).

       At the same time, “the whole purpose of bellwether litigation . . . is to enable other litigants

to learn from the experience and reassess their tactics and strategy (and, hopefully, settle).” In re

Cox Enters., Inc. Set-top Cable Television Box Antitrust Litig., 835 F.3d 1195, 1208 (10th Cir.

2016) (citing Eldon E. Fallon, Jeremy T. Grabill and Robert Pitard Wynne, Bellwether Trials in

Multidistrict Litig., 82 Tul. L. Rev. 2323 (2008)); see also In re E.I. du Pont de Nemours & Co.

C-8 Pers. Injury Litig., 204 F.Supp.3d 962, 968 (S.D. Ohio 2016) (bellwether cases were

specifically chosen for the purpose of “information gathering that would facilitate valuation of

cases to assist in global settlement.”)


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  Case: 1:17-md-02804-DAP Doc #: 2399 Filed: 08/15/19 3 of 5. PageID #: 397623




       The Court, having reviewed the briefs and the record and considering all parties’ positions,

concludes that severance will serve to 1) simplify the October trial and make it administratively

manageable, 2) facilitate judicial economy and preserve judicial resources, and 3) encourage and

assist in reaching a global resolution. Having fewer defendants in the first bellwether trial will

allow Plaintiffs to provide a more coherent presentation of the specific issues involved in the opioid

crisis. Severing these defendants will allow the Court to focus its attention on the Parties’

remaining summary judgment and Daubert motions. This in turn will undoubtedly help facilitate

settlement with the remaining defendants in the remaining cases.

       The Court also notes that while the Court was considering Plaintiffs’ Severance Motion,

Defendants filed a motion entitled “Defendants’ Motion for Additional Trial Time and for Timely

Election by Plaintiffs of Claims and Defendants They Seek to Pursue at Trial” where they assert

that ““[m]aterially narrowing claims and parties is essential as a matter of simple pretrial logistics,”

Doc. #: 2133 at 8 (emphasis added). As Plaintiffs note, Defendants’ opposition is “both ironic and

somewhat baffling.” Doc. #: 2158 at 2.

       Accordingly, the Court GRANTS Track One Plaintiffs’ motions to sever the claims against

Defendants Anda, Inc., Discount Drug Mart, Inc., HBC Service Company, H.D. Smith, LLC,

Prescription Supply, Inc., Rite Aid Corporation, Walmart Inc. f/k/a Wal-Mart Stores, Inc., CVS

Indiana, L.L.C., and CVS RX Services, Inc. The claims against these defendants will be tried in a

subsequent trial with a date to be determined. Any currently pending summary judgment motion

filed by any of these defendants will be addressed by the Court prior to trial.

       Noramco, however, is unique among the defendants in that it alone is not a manufacturer,

distributor, or retail pharmacy seller of prescription opioids. Rather, it is a supplier of the active

pharmaceutical ingredient used in the manufacture of prescription opioid drugs. Plaintiffs’



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  Case: 1:17-md-02804-DAP Doc #: 2399 Filed: 08/15/19 4 of 5. PageID #: 397624




Severance Motion appears to imply that were the Court to extend or stay the deadline for Plaintiffs

to respond to Noramco’s MSJ, that Plaintiffs would be able to take more discovery of Noramco.

See Doc. #: 2099 at 4-5 (“because discovery against Noramco has been limited, Plaintiffs should

not have to respond to Noramco’s Motion . . . until after discovery is complete.). To the extent

discovery has been limited, it was limited because Plaintiffs made a tactical decision not to pursue

discovery against Noramco. Track One discovery is complete, and Plaintiffs’ choice not to pursue

discovery against Noramco is one they will have to live with. For these reasons, the Court

concludes that including Noramco in the subsequent trial while allowing or even attempting to

allow Plaintiffs’ to seek additional discovery would unnecessarily delay a subsequent trial. This

would be manifestly unfair to both Noramco and the other severed defendants.

       However, as Plaintiffs point out, Noramco’s “presence in a bellwether trial would distract

from the trial’s primary focus on issues of more general relevance.” Doc. #: 2158 at 5. Therefore,

although the Court also hereby GRANTS Track One Plaintiffs’ motion to sever the claims against

Noramco, it does not intend to include Noramco in the subsequent trial with the other severed

defendants. Noramco’s MSJ, Doc. #: 1902, is therefore DENIED AS MOOT. And, Track One

Plaintiffs’ motion to extend the deadline to respond to Noramco’s MSJ is likewise DENIED AS

MOOT.

       Accordingly, Track One Plaintiffs’ Motion to Sever Defendants and to Extend the Deadline

to Respond to Noramco, Inc.’s Motion for Judgment on the Pleadings or, in the Alternative,

Summary Judgment, Doc. #: 2099, is GRANTED with respect to severance of the Severed

Defendants and DENIED AS MOOT with respect to extending the deadline to respond to

Noramco’s MSJ. Plaintiffs’ Motion to Sever Defendants CVS Indiana, L.L.C. and CVS RX




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 Case: 1:17-md-02804-DAP Doc #: 2399 Filed: 08/15/19 5 of 5. PageID #: 397625




Services, Inc. is GRANTED. Noramco’s Motion for Judgment on the Pleadings, etc.,

Doc. #: 1902, is DENIED AS MOOT.

            IT IS SO ORDERED.




                                       /s/ Dan Aaron Polster August 14, 2019
                                       DAN AARON POLSTER
                                       UNITED STATES DISTRICT JUDGE




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